
570 S.E.2d 734 (2002)
356 N.C. 306
STATE of North Carolina
v.
James Thomas BROWN.
No. 643P01.
Supreme Court of North Carolina.
October 3, 2002.
Bruce T. Cunningham, Jr., Southern Pines, for Brown.
Daniel P. O'Brien, Assistant Attorney General, Garland N. Yates, District Attorney, for State.
Prior report: 146 N.C.App. 590, 553 S.E.2d 428.

ORDER
Upon consideration of the petition filed by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd day of October 2002."
